Case 3:16-cv-02350-G Document 25 Filed 01/19/17 Page 1 of 2 Page|D 60

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

FABIOLA GUARDADO DAVILA,
MERCEDES GARZA GARCIA,

SAN JUANA QUEZADA GARZA,
CIPRIANO SAUCEDO LOPEZ,

JOSE MONTEJANO ORTIZ,
BLANCA VALDEZ,

CLAUDLA VASQUEZ, AND

JOSE LORENZO GARCIA VASQUEZ CASE NO. 3:16-cv-02350-G
VS.

JIMMY NILES GRINER,

G&P TRUCK LINES INC.,

HECTOR GONZALEZ QUINTANILLA,
AND AUTOBUSES REGIOMONTANOS
lNTERNACIONALES

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PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT PREJUDICE

 

TO THE HONORABLE JUDGE OF SAID COURT:

COME NOW, FABIOLA GUARDADO DAVILA, SAN JUANA QUEZADA GARZA,
JOSE MONTEJANO ORTIZ, BLANCA VALDEZ, CLAUDIA VASQUEZ, AND JOSE
LORENZO GARCIA VASQUEZ, the remaining Plaintiffs in this matter, by and through the
undersigned counsel, and hereby give notice that these remaining Plaintiffs wish to dismiss the
above-styled cause, Without prejudice, for the reason that Plaintiffs have settled their causes of
action and/or no longer Wish to prosecute this matter.

WHEREFORE, Plaintiffs pray that the Court and all interested parties take notice of this
Notice of Dismissal Without Prejudice in connection With this matter, and that the Court hereby non-

suit this case, Without prejudice to the refiling of same.

Case 3:16-cv-O2350-G Document 25 Filed 01/19/17 Page 2 of 2 Page|D 61

Respectiillly submitted,

MATTHEWS & FORESTER

/y/Clwwl/ Mattbe\uy
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ATI`ORNEY IN CHARGE FOR PLA]NTIFFS

CERTIFICATE OF SERVICE

This certifies that on January 19, 2017, the foregoing instrument was electronically filed with
the Clerk of Court using the ECF system. Notice of this filing will be automatically sent to all
known counsel herein who are Filing Users by operation of the Court’s electronic filing system.

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CHAD MATTHEWS

